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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
9¢**
UNITED STATES OF AMERICA
Plaintiff, Case No. 2:15-cr-00014-APG-VCF
MO’HON TO SUBSTITUTE COUNSEL
v.
Omar Qazi (Oral Hearing Requested)
Defendant.
gmifma£igg: This Motion is being Hled timely.

COMES NOW, Omar Qazi, hereby filing this Motion to Substitute Counsel. For the reasons
outlined in the attached Memorandum of Points and Authorities, I request that this Court enter an order

for a hearing to substitute counsel.

 

 

 

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MEMORANDUM OF PO!§ TS AND AUIHORITIES
I.
ARGUMENT

"'I'he Sixth Amendment guarantees to each criminal defendant 'the Assistance ot` Counsel for his
defence."'McCoy v Louf.s'z`ana, 584 U. S. _ (2018). l am asserting my right guaranteed under the
Constitution for this Assistance of Counsel so that an assistant can properly assist me, prior to and during
sentencing; and also for appeal.

I have had a major break in communication with current counsel Telia Williams. First and
foremosL the U.S. Probation Oft`ice sent me a Notice dated October l 1, 2018 that a pre-sentence report
had been completed and dislosed to rny attorney; and I received this Notice on October 15, 2018. See
Exhibit #1. Once l received this Notice l diligently requested for a copy from Ms. Williams' Ofiice, but l
did not receive the pre-sentence report until October 22, 2018. See Exhibit #2. The major dilemma is
that there are several issues that need to be discussed prior to filing an objection to this pre-sentence
report, and according to the Notice ii'om the U.S. Probation Oflice this objection was due on October 25,
2018. 1 had also called and left a couple messages with her oh‘ice to tile a continuance for filing the
objection. To this day, I am not even informed if a continuance was filed or what our stance is on
sentencing

Under these circumstances it is impossible to be prepared in filing the objections to the pre-
sentence report, filing a sentencing memorandum, and being fully prepared for sentencing without
having this needed communication with counsel. The Court should also note that sentencing is currently
set for November 15, 201 S, which should obviously be continued for a later date.

Ms. Williams was also untruthful with me regarding a case that she wanted to use to "help" me
on the "crime of violence" issue. She had told me that a guy by the name of Donald Kinsman was
charged and convicted with the same statute that I was convicted for in the past (Battery with Substantial
Boclily harm, NRS 200.481) through a reckless driving incident. However, after doing my own research,
I learned that Mr. Kinsman was not charged and convicted with the same statute as me, and was actually
charged and convicted with Reckless Driving under NRS 484B.653.

'l`hus, l can not trust current counsel for sentencing or for appeals, and request this court to

 

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appoint counsel from the Federal Public Defenders OHice for sentencing and appeal purposes because
their office is currently litigating the identical "crime ofviolence" issue before the Ninth Circuit in
regards to NRS 200.481, and this would be much more eHicient and a lesser burden on any appointed
counsel from becoming acquainted with these specific legal arguments since the Federal Public
Defenders Ot'fice is already familiar with this matter.
Il.
QQMLLM
For the reasons mentioned above, I request that the Court enter an order granting an order for a

hearing to substitute counsel. l declare under penalty of perjury under the law of` the state of Nevada that
the foregoing is true and correct, and that this document is executed without the benefit of a notary
pursuant to NRS 208.165, as I am a prisoner confined in a private prison within this state of Nevada.
Executed on October 29, 2018.

Respectf`ully submitted,

Al| Rights Reserved and Without Prcjudice,

Omar Qazi

Signed:

 

 

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EXHIBIT #1

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United states msu-ret Court

 

DISTRICT OF NEVADA
PROBATION OFFICE
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300 Las,Vegas Blvd. South 400 S. Virg|nla St.
Sulte 1200 Suite 103
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Tel: 702-527-7300 . _ Tel: 775~686-5980
Faxnoz.sz'/-ms ran messages
October ll, 201&I

Omar Qazi

Southern Nevada Detention Center

2190 E Mesquite Aveuue

Pahrump, NV 89060

Notice to Defendant

 

Dear Qazi:
The presentence report ordered by the Court in your case has been completed and disclosed to
your attomey. Pursuant to Rule 32, you have until October 25, 2018, to submit objections to the

presentence report. Please contact your attorney to make arrangements to review and discuss
your presentence report so timely objections may be filed by your attorney if needed.

Respectfully submitted,
/s/

Matthew J. Holden
United States Probation Ot`ficer

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EXHIBIT #2

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Las Vegas, Nevada 1

Case 2:15-cr-00014-APG-VCF Document 550 Filed 11/05/18 Page 9 of 10

CE TE OF ERVIC
I hereby certify that on October 29, 2018, 1 mailed my Motion to Substitute Counsel, to the

following:

Clerk of the Court

Lloyd D. George U.S. Courthouse

333 Las vegas Blvd. sourh, Rm. 1334

 

Omar Qazz'
N.S.D.C.
2190 E. Mesquite Ave.

Pahrump, Nevada

 

 

             

 

 

     

 

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